             Case 1:25-cv-00613-MLB                  Document 15-2       Filed 03/19/25       Page 1 of 47




               (16-16 ) (Part 16-16) Cover Letter to the Office of the
                 District Clerk (NDGA)--Re: 25cv00613 ~DGA).
RECE\\JEO IN CLERK'S Off ICE           The Office of Ulysses T. Ware
       u.s.o.c .. Atlanta                         123 Linden Blvd., Ste 9-L
      ~P..R , 9 ?.0?.5                              Brooklyn, NY 11226
                                                       (718) 844-1260
             p WEIMER, Cieri<.
     KEVIN    .   QAP.l,111/ Cieri<.
                                                   utware007@gmail.com
    BY ~ ~
                                            Saturday, March 8, 2025, 11 :17:24 AM

                                        Certified mail # # 9589 0710 5270 0693 4844 81

     VIA U.S. MAIL FILING
     Office of the District Clerk
     United States District Court
     Northern District of Georgia
     1988 Richard B. Russell U.S. Courthouse
     75 Ted Turner Drive, SW
     Atlanta, GA 30303


     Re: Ware, et al. v. Alpha Capital, AG, et al., Case No. 25cv00613 (NOGA) (MLB) - Refiling
     of Appellants' Response to the District Court's Order, Dkt. 4

     Dear Office of the District Clerk:

     Enclosed for filing and docketing in the above-referenced matter, Case No. 25cv00613 (NDGA)
     (MLB), please find for refiling Appellants-Movants' Response to the Court's Order, Dkt. 4,
     originally filed on February 25, 2025, addressed to the Office of the District Clerk.

     The enclosed filings , submitted in response to the Court' s Order, Dkt. 4, and timely sent and filed
     in the District Court on February 25, 2025 , included:

         1. Exhibit 1 (16-5 CL): Clerk' s cover letter for Appellants' Response to the District Court's
            Order, Dkt. 4.
         2. Exhibit 2 (16-5): Appellants' Response to the District Court's Order, Dkt. 4, clarifying the
            pro se representation of Appellant Group Management.
         3. Exhibit 3 (16-5-NO.P): Appellant Ulysses T. Ware's Entry of Appearance on behalf of
            Group Management, a sole proprietorship.
         4. Exhibit 4: February 25, 2025, Gmail receipt of confirmation of email to the Chambers of
            the Honorable District Judge Michael L. Brown, providing courtesy copy of filing.



     Page 1 of 2
     Saturday, March 8, 2025
     (16-16) (Part 16-16) re: Appellants' refiling of Feb. 25, 2025, timely response to Dkt. 4, Order.
      Case 1:25-cv-00613-MLB               Document 15-2           Filed 03/19/25        Page 2 of 47




 Appellants-Movants respectfully request that the Clerk of the District Court please file and docket
 the enclosed pleadings on the 25cv00613 (NDGA) docket in this pending appeal, to ensure the
 record is complete and accurately reflects Appellants-Movants' timely response to the Court's
 Order, Dkt. 4.

 Thank you for your kind attention to this filing.

 Sincerely,       ~

0l~R'ware~
 Ulysses T. Ware
 Attorney in Fact for Appellants Ulysses T. Ware and Group Management
 The Office of Ulysses T. Ware

 Enclosures:

    1.   Exhibit 1 (16-5 CL): Clerk's cover letter
    2.   Exhibit 2 (16-5) : Appellants ' Response to Dkt. 4
    3.   Exhibit 3 (16-5-NOP): Entry of Appearance
    4.   Exhibit 4: February 25, 2025, Gmail receipt

 cc:    Chambers of District Judge Brown via email to Deputy Clerk Jessica Kelley on March 8,
 2025 .




                                      End of document




 Page 2 of 2
 Saturday, March 8, 2025
 (16-16) (Part 16-16) re: Appellants' refiling of Feb. 25, 2025, timely response to Dkt. 4, Order.
     Case 1:25-cv-00613-MLB               Document 15-2      Filed 03/19/25     Page 3 of 47
                                                                                    PLAINTIFF'S
                                                                                       EXHIBIT
                                                                                   I       1

                        The Office of Ulysses T. Ware
                                       123 Linden Blvd., Ste 9-L
                                         Brooklyn, NY 11226
                                            (718) 844-1260
                                        utware007@gmail.com

                                    February 25, 2025, 1:03:26 PM

VIA U.S. MAIL

Office of the District Clerk
United States District Court
Northern District of Georgia
1988 Richard B. Russell U.S. Courthouse
75 Ted Turner Drive, SW
Atlanta, GA 30303

Re: Ware, et al. v. Alpha Capital, et al., Case No. 25cv00613 (NDGA)

Enclosures: (1) Appellants' Response to the District Court, Brown, J., Dkt. 4, February 13, 2025,
Order; and (2) Appellant Group Management's Entry of Appearance of Counsel in 25cv00613
(NDGA).

Dear Clerk of the District Court:

Appellants-Movants, Ulysses T. Ware and Group Management, a sole proprietorship, hereby
submit for filing and docketing in the above-referenced matter, Case No. 25cv00613 (NDGA), the
following documents:

    1. Appellants' Response to the District Court, Brown, J., Dkt. 4, February 13, 2025,
       Order: This document constitutes Appellants-Movants' formal response to the Order
       issued by the Honorable Judge Brown, Docket Entry 4, dated February 13, 2025, regarding
       the representation of Appellant Group Management.
    2. Appellant Group Management's Entry of Appearance of Counsel in 25cv00613
       (NDGA): This document constitutes the formal Entry of Appearance of Ulysses T. Ware
       as Attorney in Fact for Appellant Group Management, a sole proprietorship, pursuant to
       28 U.S.C . § 1654.

Appellants-Movants respectfully request that the Clerk of the District Court ensure that all future
notices, orders, and other documents issued by the Court in Case No. 25cv00613 (NDGA),
including all PACER electronic notifications, are properly directed and served upon:

Ulysses T. Ware, Attorney in Fact for Appellant Group Management
The Office of Ulysses T. Ware


Page 1 of 2
Tuesday, February 25, 2025
(16-5-CL)) (Part 16-5-CL) re: Clerk's filing letter
       Case 1:25-cv-00613-MLB                Document 15-2       Filed 03/19/25     Page 4 of 47




  123 Linden Blvd., Ste 9-L
  Brooklyn, NY 11226
  utware007 (mgmai I. com

  Thank you for your attention to these filings and for ensuring proper notification in this matter
  moving forward.

  Sincerely,         M.
° l l u ~ P .~are       ~
  Ulysses T. Ware
  Attorney in Fact for Appellants-Movants
  Ulysses T. Ware and Group Management, a sole proprietorship

  Enclosures:

      1. Appellants' Response to the District Court, Brown, J., Dkt. 4, February 13, 2025, Order
      2. Appellant Group Management's Entry of Appearance of Counsel in 25cv00613 (NDGA)



                                            Certificate of Service

  I, Ulysses T. Ware, attorney in fact for the Appellants, hereby certify under penalty of perjury that
  on this 25th day of February, 2025, I caused to be served a true and correct copy of the foregoing
  COVER LETTER AND ENCLOSED FILINGS via electronic filing with the United States
  District Court for the Northern District of Georgia in Case No. 25cv00613 (MLB) and by U.S.
  Mail to the Office of the District Clerk, United States District Court, Northern District of Georgia,
  1988 Richard B. Russell U.S. Courthouse, 75 Ted Turner Drive, SW, Atlanta, GA 30303.


  Isl Ulysses T. Ware
  Ulysses T. Ware

0(r~-w(Mv

  Page 2 of 2
  Tuesday, February 25, 2025
  (16-5-CL)) (Part 16-5-CL) re : Clerk's filing letter
     Case 1:25-cv-00613-MLB               Document 15-2           Filed 03/19/25        Page 5 of 47



                                            ( 16-5) (Part 16-5)
                  Case No. 25cv00613 (NOGA) (MLB)
                                                                                                PLAINTIFF'S
                            UNITED STATES DISTRICT COURT                                          EXHIBIT
                       FOR THE NORTHERN DISTRICT OF GEORGIA                                           2
                                  ATLANTA DIVISION

ULYSSES T. WARE, d/b/a as Group Management, and Group Management (a sole
proprietorship), 1
Appellants,

        V.

Alpha Capital, AG, et al., 2
Appellees.

                                          On appeal from:
                           In re GROUP MANAGEMENT CORP., Debtor.
                             Case No. 03-93031 (BC NDGA) Chapter I 1

Appellants' Response Brief in Support of Appellant Ware's Status as the Only Lawfully
Authorized Real Party in Interest Under Federal Rule of Civil Procedure l 7(a)(l )(G) and Appellant
Group Management's Status as a Sole Proprietorship Authorized to Appear Herein in Pro se status
Pursuant to 28 U.S.C. § 1654 and Rowland v. California Men's Colony, Unit II Men's Advisory
Council, 506 U.S. 194, 202-03 (1993).

1
  See Ex. D, infra. Appellant W_are and Group Management are lawfully authorized to appear herein in a
prose status by federal law, 28 USC§ 1654 and Supreme Court binding precedent, Rowland v. California
Men's Colony, Unit II Men's Advisory Council, 506 U.S. 194, 202-03 (1993) ('Thus, save in a few
aberrant cases, the lower courts have uniformly held that 28 U. S. C. § 1654, providing that "parties may
plead and conduct their own cases personally or by counsel," does not allow corporations, partnerships,
or associations to appear in federal court otherwise than through a licensed attorney."). (citations omitted)
(emphasis added). Appellant Group Management is neither a corporation, a partnership, or an association.
Appellant Group Management is a sole proprietorship registered with the IRS as such, see Ex. Id., infra.

2
  Appellees Alpha Capital, AG, Stonestreet L.P., Markham Holdings, Ltd., and Arnro International, S.A.,
the clients of Appellee Atlanta, GA law firm Kilpatrick, Townsend, & Stockton, LLP ("KTS"), see Dkt. 11
(03-93031), were certified on May 17, 2021, by FINRA' s senior executive Marcia E. Asquith, Esq. a s
unregistered broker-dealers operating in the, United States in violation of the federal securities     laws,
15 USC § 780( a)(l) and 18 USC § 1961 (6)(B); whom all have since 2001 without interruption agreed,
confederated, colluded, conspired, racketeered, and have knowingly and willfully operated as an illegal
association in fact as defined in 18 USC§ 1961(4), a racketeering predatory unlawful debt collecting, 18
USC§ 1961(6)(B), continuing criminal enterprise, unlawful debt collection activities in the 03-93031
Chapter 11 , see Dkt. 11 , 15, and 16, predatory loan sharking of criminal usury debts, GX 1-4, money
laundering, extortion, murder for hire, bankruptcy fraud conspiracy, theft of Chapter 11 estate assets
(+$522 million in 15 USC § 78p(b) strict-liability short-swing profits), and racketeering, a pattern of
racketeering activities. See The Parties' Rule 8009(d) Joint Stipulated Appellate Record Facts.

Page 1 of 37
Tuesday, February 25, 2025
(16-5) (Part 16-5) re Appellants' Declaration of Undisputed Facts and response to the Court' s Dkt. 4,
Order, Feb. 13, 2025.
     Case 1:25-cv-00613-MLB             Document 15-2           Filed 03/19/25       Page 6 of 47



m ,tfully submitt~
'-fsAi ~J;                (.A.1.-


Ulysses T. Ware
Attorney in fact for Appellants-Movants
The Office of Ulysses T. Ware
123 Linden Boulevard, Suite 9-L
Brooklyn, NY 11226
(718) 844-1260
utware007@gmail.com

Filed on February 25, 2025, 12:34:51 PM




Page 2 of 37
Tuesday, February 25, 2025
(16-5) (Part 16-5) re Appellants' Declaration of Undisputed Facts and response to the Court's Dkt. 4,
Order, Feb. 13, 2025.
        Case 1:25-cv-00613-MLB                                            Document 15-2                             Filed 03/19/25                         Page 7 of 47



                                                                        Table of Contents
Authorities ..... ............................ .... .................................... .................... .......... ............... ........ ..................... 4
(i)       Citations of legal authorities: ........ ............ ..... ..................................... ................................. ....... .. .. .. 4
(ii)           Statutes: .............. ................... .......................... ....... ..................................... .. .. .. ....... ...................... 4
(iii)          Rules of Procedure: ........ ........................ ....... ............. .................. ..... ............................. ........... .. ... 5
A. Summary of the argument: Appellants Ulysses T. Ware' s Statutory Right, 28 USC § 1654,
Right to Pro Se Representation of Group Management A Sole Proprietorship . ................ .................. 6
I. INTRODUCTION ..... .... ..... ..... ......... ........ .... ...... .. .. .......... .... .... ........ .. ................... ...... .... .. .. ... .. ..... .......... 7
II. STATEMENT OF RELEVANT FACTS ........ .............................. .. ....... .. .. ...................... .. ... .. ............. 8
III. ARGUMENT .......... ... .. .. .. ......... ..................................................... ............... .......... .. .... ..... ..... ......... ... 12
      A. Mr. Ware Is the Real Party in Interest Under Rule 17(a)(l)(G) ........... ..... .............................. ... 12
      B. Appellant Ware' s Personal Ownership of Claims Entitles Him to Pro Se Representation .... ... 15
      C. No Prejudice to Any Other Party from Pro Se Representation ................... .......... .. .. .................. 17
IV. CONCLUSION ................ ...................................... ........ ........... ...... ......................... ........................... 18
Exhibits ...... ....... ..... .. ..... .... .. .... .. .. .... ..... ..... .. ... .... ...... ...... .... .......... ....... ... ..... ..... .... ... ....... .. ... ..... ................... 20
    Exhibit A-25cv00613 (NOGA) Dkt. 4, Feb. 13, 2025, Order ............... ........................... .. .............. 21
    Exhibit B--Ulysses T. Ware's Feb. 25, 2025, Declaration of undisputed material facts .............. .. 23
Declaration of Appellant Ulysses T. Ware ........................................................................................ ...... 24
    Exhibit C-Dec. 31, 2003 Group Management Corp.' s Asset sale, rights assignment, and transfer
    contract. ........... ................................ ........................ ........ ............ .......... ................. ... .. ....... ................... 31
    Exhibit D-(IRS Sole Proprietorship Certificate) Group Management (sole proprietorship) IRS
    EIN certificate. .................. .. ............... ............ .......... ................................................... ... .......... ........ ... .. 35
Certificate of Service ............... ...... ........................................... ............ ....................... .... .... ............ .......... 37
    End of document ......... .. .......... ... .................................................. ............................. .............. ...... .. .. .. .. 37




Page 3 of 37
Tuesday, February 25, 2025
(16-5) (Part 16-5) re Appellants' Decla ration of Undisputed Facts and response to the Court' s 0kt. 4,
Order, Feb. 13, 2025 .
       Case 1:25-cv-00613-MLB            Document 15-2          Filed 03/19/25        Page 8 of 47




                                          Authorities

(i)       Citations of legal authorities:


       1. Adar Bays LLC v. GeneSYS ID, Inc., 28 F.4th 379 (2d Cir. 2022)

       2. Great Southern Fire Proof Hotel Co. v. Jones, 177 U.S. 449, 453 (1900).

       3. In re Group Management Corp., No. 03-93031 (Banla. N.D. Ga.)

       4. Lujan v. Defenders of Wildlife, 504 U.S. 555 (1992)

       5. Palazzo v. Gulf Oil Corp., 764 F.2d 1381 (11th Cir. 1985)

       6. Rowland v. California Men's Colony, Unit II Men's Advisory Council, 506 U.S. 194

          (1993)

      7. Sprint Commc'ns Co., L.P. v. APCC Servs., Inc., 554 U.S. 269 (2008)

      8. United States v. Grote, 961 F.3d 105 (2d Cir. 2020)



(ii)      Statutes:

      1. 11 U.S.C. § 542(a)
      2. 11 U.S .C. § 1109(b)
      3. 15 U.S.C. § 78o(a)(l)
      4. 15 U.S.C. § 78cc(b)
      5. 15 U.S .C. § 78p(b)
      6. 18 u.s.c. § 2
      7. 18 U.S.C. § 152
      8. 18 U.S.C. § 257
      9. 18 u.s.c. § 371
      10. 18 U.S.C. § 924(c)
      11. 18 U.S.C. §§ 1201-1202 (Cited in the text as "1201-02. ")
      12. 18 U.S.C. § 1341
      13. 18 U.S.C. § 1343
      14. 18 U.S.C. § 1344
      15. 18 U.S.C. § 1503
      16. 18 U.S.C. § 1951(a)

Page 4 of 37
Tuesday, February 25, 2025
(16-5) (Part 16-5) re Appellants' Declaration of Undisputed Facts and response to the Court's Dkt. 4,
Order, Feb. 13, 2025.
     Case 1:25-cv-00613-MLB             Document 15-2           Filed 03/19/25       Page 9 of 47



    17. 18 U.S .C. §§ 1956- 1957
    18. 18 U.S.C. §§ 1958-1959
    19. 18 U.S.C. § 1961(6)(b)
    20. 18 U.S.C. § 1962(a)-(d) (Cited in the text as 1962(a-d).)
    21. 28 u.s.c. § 1654
    22. 28 u.s.c. § 1746
    23. N.Y. Penal Law§ 190.40 (Cited in the text as "NYS Penal Law, section 190.40. ")


(iii) Rules of Procedure:
    1. Federal Rule of Civil Procedure l 7(a)(l)

    2. Federal Rule of Civil Procedure 17(a)(l)(G)

    3. Federal Rule of Civil Procedure 4l(a)(2)

    4. Federal Rule of Bankruptcy Procedure 8009(d)




Page 5 of 37
Tuesday, February 25, 2025
(16-5) (Part 16-5) re Appellants' Declaration of Undisputed Facts and response to the Court's Dkt. 4,
Order, Feb. 13, 2025 .
    Case 1:25-cv-00613-MLB              Document 15-2          Filed 03/19/25        Page 10 of 47



A. Summary of the argument: Appellants Ulysses T. Ware's
Statutory Right, 28 USC § 1654, Right to Pro Se Representation of
Group Management A Sole Proprietorship.
        Under established federal law, and specifically 28 U.S.C. § 1654, 3 Appellant Ulysses T.

Ware, as an individual, a natural person, is unequivocally authorized to conduct his own case

personally before this Honorable Court, including the representation of his "personal" business

interest, Group Management. Group Management is not a corporation. is not a limited liability

company, or other distinct "artificial " legal entity that would trigger the rule against non-attorney

representation; rather, it is a sole proprietorship. a business structure that is legally

indistinguishable from its individual owner and operator, Appellant Ulysses T. Ware. See Ex. D,

infra. As the sole proprietor of Group Management, Mr. Ware's appearance before this Court on

behalf of Group Management is, in substance and legal effect, an exercise of his fundamental

statutory right to "personally" represent himself and Group Management pro se in federal court, a

"fundamental" right expressly guaranteed by 28 U.S.C. § 1654 and consistently upheld by the

Supreme Court and federal appellate courts. See California Men's Colony, 506 U.S. at 202-03.


        The legal distinction · between individuals and artificial entities 1s paramount m this

analysis . While corporations, partnerships, and limited liability companies, as separate legal

"persons," are compelled to appear in federal court through licensed counsel, this requirement is

wholly inapplicable and inapposite to individual sole proprietors, Appellant Ware. Group

Management, lacking separate legal existence from its owner, Ulysses T. Ware, functions merely

as the trade name under which Mr. Ware conducts his individual business activities. See Ex. D,


3
 28 USC § 1654: In all courts of the United States the parties may plead and conduct their own cases
personally or by counsel as, by the rules of such courts, respectively, are permitted to manage and conduct
causes therein.

Page 6 of 37
Tuesday, February 25, 2025
(16-5) (Part 16-5) re Appellants' Declaration of Undisputed Facts and response to the Court's Dkt. 4,
Order, Feb. 13, 2025.
    Case 1:25-cv-00613-MLB              Document 15-2           Filed 03/19/25        Page 11 of 47



infra. Therefore, Appellant Ware' s representation of Group Management is not the representation

of a separate legal entity by a.non-attorney; instead, it is the permissible and legally protected pro

se appearance of an individual, Ulysses T. Ware, acting in his capacity as the sole proprietor of his

own business, a right explicitly recognized and safeguarded by federal statute and constitutional

principles. 28 USC§ 1654.


        In conclusion, to compel Appellant Ulysses T. Ware to retain separate legal counsel to

represent Group Management, his sole proprietorship, would be a legally unfounded and formality,

directly contravening the express language of28 U.S.C. § 1654 and the fundamental right of self-

representation in federal court. Mr. Ware, as the sole proprietor of Group Management, is fully

authorized and legally entitled to appear prose on behalf of Group Management, and the Court's

recognition of this right is essential to ensure the just, efficient, and procedurally sound

adjudication of this matter.


I. INTRODUCTION
        Comes now Appellant Ulysses T. Ware ("Mr. Ware"), and Appellant Group Management,

(a sole proprietorship), pursuant to 28 USC§ 1654, proceeding pro se, jointly, ("Appellants"), and

respectfully submits this Memorandum of Law to establish that he, Appellant Ware, is the only

lawful real party in interest4 under Federal Rule of Civil Procedure 17(a)(l)(G), see Ex. 3, and


4
  Under Federal Rule of Civil Procedure l 7(a), the real party in interest is definitively understood as the
party who possesses the actual legal right to enforce the claim asserted. In the context of Case No.
25cv00613, Ulysses T. Ware is the sole real party in interest because he personally and individually
holds legal title to the claims and causes of action at issue, having validly acquired them via assignment
from Group Management Corp. As the undisputed owner of these claims, Mr. Ware is uniquely positioned
and legally entitled to prosecute them prose, without the necessity of separate counsel, see 28 USC § 1654,
as his appearance represents the assertion of his own individual property rights, not the representation of
a separate legal entity.


Page 7 of 37
Tuesday, February 25, 2025
(16-5) (Part 16-5) re Appellants' Declaration of Undisputed Facts and response to the Court's Dkt. 4,
Order, Feb. 13, 2025.
      Case 1:25-cv-00613-MLB            Document 15-2          Filed 03/19/25        Page 12 of 47



Ex. D, infra, with respect to the claims and causes of action formerly belonging to Group

Management Corp. (the "Debtor" or "Group Management Corp."). 5 As demonstrated herein,

Appellant Ware acquired 100% of the Chapter Debtor's assets and claims for good and valuable

consideration upon the Debtor's dissolution and the fraudulent and ultra vires dismissal of its

Chapter 11 bankruptcy in May 2003, Dkt. 28 (03-93031 ), and acquired al I of Group Management

Corp.'s assets and acquired legal and equitable title to all rights and claims of Group Management

Corp. in December 2003. These assets and legal rights were duly assigned and transferred to

Appellant Ware in his personal and individual capacity for the sum certain amount of $10.00.

By virtue of this valid and legally effective assignment, Appellant Ware is now solely entitled to

"personally" through his sole proprietorship, d/b/a Group Management, prosecute these claims and

is, therefore, unequivocally the proper Fed. R. Civ. P. 17(a)(l)(G) only and sole real party in

interest before this Honorable Court. 6


II. STATEMENT OF RELEVANT FACTS
      1. Corporate Status and Bankruptcy Dismissal

              a. Group Management Corp. ("GMC") initiated proceedings under Chapter 11 of the

                  Bankruptcy Code, to fend off predatory loan sharking criminal enterprise's agents,

                  KTS ' unregistered broker-dealer clients, see Dkt. 11, 15, and 16, styled as Case No.



5
    Defunct since Dec. 2003 .

6
  Appellant Ware appearing by and through Ulysses T. Ware personally and individually, and on behalf of
Ulysses T. Ware, d/b/a Group Management, a sole proprietorship, the sole owner of the legal and equitable
title to all claims and assets formerly owned by Group Management Corp., (see Ex. C, infra), as a matter
of law Appellant Ware is the Rule 17(a)(l)(G) real party in interest personally and through Group
Management, the sole proprietorship, see 28 USC§ 1654 and California Men's Colony, [d. Appellant Ware
as the assignee stepped into the shoes of the Chapter 11 Debtor, Group Management Corp., and is the sole
real party in interest with respect to the 03-93031 and 25cv00613 proceedings.

Page 8 of 37
Tuesday, February 25, 2025
(16-5) (Part 16-5) re Appellants' Declaration of Undisputed Facts and response to the Court's Dkt. 4,
Order, Feb. 13, 2025.
    Case 1:25-cv-00613-MLB              Document 15-2          Filed 03/19/25        Page 13 of 47



                In re Group Management Corp., 03-93031 (the "Chapter 11 Case") regarding the

                enforcement and collection of predatory criminal usury unlawful debts, GX 1-4,

                which charged interest rates in excess of 2000%, and therefore, ipso facto as a

                matter of law, violated NYS Penal Law, section 190.40, the criminal usury law, a

                class E felony; accordingly, ipso facto, the predatory criminal usury convertible

                promissory notes, GX 1-4, are null and void ab initio, unenforceable, uncollectible,

                violated NYS Penal Law, section 190.40, see Adars Bays LLC v. GeneSYS ID,

                Inc., 28 F.4d 379 (2d Cir. 2022); and Appellee KTS and its unregistered broker-

                dealer clients, Dkt, 11, attempts in the 03-93031 Chapter 11 bankruptcy case to

                enforce and/or collect the predatory criminal usury unlawful debts (GX 1-4), Dkt.

                11 , 15, and 16, indisputably violated federal racketeering law, 18 USC §§ 2, 152,

                257, 371, 924(c), 1201-02, 1341, 1343, 1344, 1503, 1951(a), 1956-57, 1958-59,

                l 961(6)(b ), and l 962(a-d), a pattern of racketeering activities. See U.S. v. Grote,

                961 F.3d 105, 109 (2d Cir. 2020) (affd criminal conviction, sentence, and +$3 .5

                billion in RICO forfeiture judgment for unlawful debt collection activities).7

            b. In or around May 2003, Dkt. 28, the 03-93031 Chapter 11 Case was fraudulently

                dismissed with prejudice, on ultra vires and moot motion by KTS ' unregistered

                broker-dealer clients, Dkt. 15 and Dkt. 16, who as unregistered broker-dealers, cf.,

                15 USC§§ 78o(a)(l) and 78cc(b), all lacked Article III standing to have appeared



7
  Appellees KTS, Meir, Mills, Walker, Kadaba, and its unregistered broker-dealer clients, Dkt. 11, each,
jointly and severally, cf. , 18 USC§ 1962(d), violated federal loan sharking racketeering law, 18 USC§§ 2,
152, 157,371 , 924(c), 1341, 1343, 1344, 1503, 195l(a), 1956-57, 1958-59, 1961(6)(B), and 1962(a-d) by
appearing in the 03-93031 Bankruptcy Court, Dkt. 11, 15, and 16, and attempting to enforce and/or collect
the predatory criminal usury unlawful debts, GX 1-4-that is, unlawful debt collection activities criminally
sanctioned in Grote, Id.

Page 9 of 37
Tuesday, February 25, 2025
(16-5) (Part 16-5) re Appellants' Declaration of Undisputed Facts and response to the Court's 0kt. 4,
Order, Feb. 13, 2025 .
    Case 1:25-cv-00613-MLB             Document 15-2           Filed 03/19/25       Page 14 of 47



                in the 03-9303-1 Chapter 11 , and by extension lack Article III standing to appear in

                this 25cv00613 (NDGA) appeal, Lujan, 504 U.S. at 560-61; Great Southern Fire

                Proof Hotel Co. v. Jones, 177 U.S. 449,453 (1900).

            c. Subsequent to the May 2003 fraudulent dismissal of its Chapter 11 petition, with

                prejudice, Dkt. 28, Group Management Corp. undertook no further corporate

                business operations and became effectively defunct under applicable Delaware

                state law, retaining no assets of value other than those previously listed as property

                of the bankruptcy estate prior to dismissal.


    2. December 31, 2003, Purchase of Corporate Assets and Assignment of all Claims. See
       Ex. C, infra. 8

            a. Subsequent to the May 2003 dismissal of the 03-93031 Chapter 11 Case, Appellant

                Ware seeking to salvage his massive personal financial investment in Group

                Management Corp. entered into a legally valid written Asset Purchase and Rights

                Assignment Agreement with Group Management Corp. (the "Assignment

                Agreement"), see Ex. C, infra. Pursuant to the express terms of the Assignment

                Agreement, Appellant Ware acquired all tangible and intangible assets and legal

                and equitable rights of the now-defunct corporation.

            b. The agreed-upon purchase price for all corporate assets and legal and equitable

                rights to all claims was the sum certain amount of $10.00, which was expressly

                acknowledged by both contracting parties as good and valuable consideration for




8
  The 03-93031 Bankruptcy Court (Hagenau, CJ.), categorically refused and denied the Appellants any due
process proceeding to present Ex. C, infra, to the Bankruptcy Court, make a record, or conduct any fact-
finding inquiry on this issue.

Page 10 of 37
Tuesday, February 25, 2025
(16-5) (Part 16-5) re Appellants' Declaration of Undisputed Facts and response to the Court's Dkt. 4,
Order, Feb. 13, 2025.
    Case 1:25-cv-00613-MLB              Document 15-2          Filed 03/19/25        Page 15 of 47



                the transfer of assets, including all causes of action, legal claims, and equitable

                interests formerly owned or controlled by Group Management Corp.


    3. Valid Assignment of Claims

            a. Pursuant to the duly executed Assignment Agreement, Group Management Corp.

                irrevocably and unconditionally assigned to Appellant Ware, in his individual

                capacity, any and all claims, rights of action, or causes of action, of every kind and

                description, that Group Management Corp. held, owned, or controlled as of the date

                of the Assignment Agreement, December 31 , 2003 . See Ex. C, infra.

            b. The Assignment Agreement further provided that Group Management Corp. would

                execute and deliver all such further instruments and take all such further action as

                may reasonably be necessary or appropriate to effectively effectuate and confirm

                Appellant Ware's sole and exclusive ownership ofthese assigned legal claims and

                causes of action.


    4. Appellant Ware's Ongoing Efforts to Prosecute Claims as Real Party in Interest

            a. Consistent with the legally effective Assignment Agreement, Appellant Ware, a

                natural person_, now appears before this Honorable Court, pursuant to 28 USC

                § 1654 proceeding pro se as Ulysses T. Ware d/b/a Group Management, (a sole

                proprietorship, see Ex. D, infra) and 11 USC§ 1109(b) statutory party in interest,

                to assert and defend the formerly Group Management Corp.-owned claims and

                causes of action, having acquired all rights, title, and interest therein via valid

                assignment. Ex. C, infra.




Page 11 of 37
Tuesday, February 25, 2025
(16-5) (Part 16-5) re Appellants' Declaration of Undisputed Facts and response to the Court's 0kt. 4,
Order, Feb. 13, 2025 .
    Case 1:25-cv-00613-MLB              Document 15-2           Filed 03/19/25        Page 16 of 47



              b. Given that there is no extant corporate entity capable of prosecuting these claims

                 post-dissolution, Appellant Ware, as the sole and rightful owner of the assigned

                 claims, now respectfully presents to the Honorable District Court this factual clear

                 and convincing evidence and legal authorities for his position as the sole real party

                 in interest under Rule 17(a)(l)(G) of the Federal Rules of Civil Procedure.


III. ARGUMENT

A. Mr. Ware Is the Real Party in Interest Under Rule 17(a)(l)(G).

        Rule l 7(a)(l) of the Federal Rules of Civil Procedure unequivocally provides that "[a]n

action must be prosecuted in the name of the real party in interest." The "real party in interest" is

the party who, by substantive law, possesses the actual right to enforce the claim asserted in the

litigation.


    1. Valid Assignment V ~sts Real Party in Interest Status in Assignee

              a. It is a fundamental and universally recognized principle of law that the valid

                 assignment of a legal cause of action legally operates to convey to the assignee,

                 Appellant Ware, all rights to prosecute and enforce that claim in a court of law.

                 See, e.g., Sprint Commc'ns Co., L.P. v. APCC Servs., Inc. , 554 U.S . 269, 286

                 (2008) (holding that when a claim is validly assigned for valuable consideration,

                 the assignee "obtains title to the claims and [can] pursue them").9




9
 Id. at 269: "History and precedent show that, for centuries. courts have found ways to allow assignees to
bring suit; where assignrrient is at issue, courts--both before and after the founding-have always
permitted the _party with legal title [Ap_pellant Ware] alone to bring suit; and there is a strong tradition
specifically of suits by assignees for collection." (emphasis added).


Page 12 of 37
Tuesday, February 25, 2025
(16-5) (Part 16-5) re Appellants' Declaration of Undisputed Facts and response to the Court's Dkt. 4,
Order, Feb. 13, 2025.
     Case 1:25-cv-00613-MLB              Document 15-2           Filed 03/19/25         Page 17 of 47



            b. By virtue of the duly executed and legally effective Assignment Agreement with

                Group Management Corp., Ex. C, infra, Appellant Ware has obtained assignment

                of and legal and equitable title to the claims and causes of action at issue in this

                proceeding-the 11 USC § 542(a) turnover of +$522 million in 15 USC§ 78p(b)

                short-swing insider-trading profits to the Chapter 11 estate for administration. As

                the lawful assignee of these claims, Appellant Ware is, therefore, the paradigmatic

                Rule 17(a)(l)(G) "real party in interest" and the only proper party entitled to

                prosecute and control the litigation arising from these claims. 28 USC § 1654.


     2. Corporate Dissolution and Post-Dismissal Asset Transfer Do Not Impair Valid
        Assignment.

            a. The subsequent dissolution of Group Management Corp., and the dismissal of its

                Chapter 11 bankruptcy case with prejudice, do not in any manner invalidate or

                defeat the legally effective assignment of corporate assets and claims to Mr. Ware

                post Chapter 11 dismissal in May 2003 , Dkt. 28. Even a dissolved or defunct

                corporation retains the legal capacity to distribute or assign its remaining assets and

                claims to an individual or entity. 10 Here, following the dismissal of the Chapter 11

                case, Group Management Corp. validly and legally transferred its remaining legal

                claims and causes of action to Appellant Ware via the Assignment Agreement.

                Upon valid execution of this Assignment, Group Management Corp. divested itself

                of all ownership and control over these claims, and Mr. Ware became the sole



10
  Ortiz v. Fibreboard Corp., 527 U.S. 815, 832 (1999) ("The necessary parties rule in equity mandated that
"all persons materially interested, either as plaintiffs or defendants in the subiect matter of the bill ought
to be made parties to the suit, however numerous they may be." West v. Randall, 29 F. Cas. 718, 721 (No.
17,424) (CC RI) (1820) (Story, J.)."). (emphasis added).

Page 13 of 37
Tuesday, February 25, 2025
(16-5) (Part 16-5) re Appellants' Declaration of Undisputed Facts and response to the Court's Dkt. 4,
Order, Feb. 13, 2025.
    Case 1:25-cv-00613-MLB              Document 15-2          Filed 03/19/25        Page 18 of 47



                and exclusive owner thereof The prior corporate dissolution and bankruptcy

                dismissal thus have no bearing on the validity or legal effect of the post-dismissal

                Assignment Agreement.


    3. No Plan Confirmation or Bankruptcy Court Oversight Required for Post-Dismissal
       Asset Transfer.

            a. Because the Chapter 11 petition in Case No. 03-93031 (WLH) was dismissed with

                prejudice prior to plan confirmation, Dkt. 28, May 2003 (Murphy, J.) the post-

                dismissal December 31, 2003, transfer of corporate assets and claims to Mr. Ware,

                Ex. C, infra, did not require further approval or oversight by the Bankruptcy Court.

                Upon dismissal of the Chapter 11 case with prejudice on or about May 28, 2003,

                Dkt. 28, the Debtor and its assets reverted to the control of the Debtor, and Group

                Management Corp. was thereafter legally authorized to enter into private

                contractual transactions, such as the Assignment Agreement with Mr. Ware,

                without further Bankruptcy Court involvement.

            b. Mr. Ware's December 31, 2003, acquisition of the corporate assets and claims via

                the Assignment Agreement was, therefore, a straightforward and legally valid

                contractual transaction for valuable consideration, and did not require any plan

                confirmation or Bankruptcy Court approval to be deemed effective.


    4. Holder of Assigned Claims Is the Undisputed Rule 17(a)(l)(G) Real Party in
       Interest.

            a. Federal law is unequivocal in holding that "[t]he assignee of a claim has standing

                to pursue it if the assignment is valid under applicable law." See Sprint, Id. at 285-

                86. The operative inquiry under Rule 17(a) is simply whether the party seeking to


Page 14 of 37
Tuesday, February 25, 2025
(16-5) (Part 16-5) re Appellants' Declaration of Undisputed Facts and response to the Court's Dkt. 4,
Order, Feb. 13, 2025.
     Case 1:25-cv-00613-MLB               Document 15-2           Filed 03/19/25        Page 19 of 47



                prosecute the claim [Appellant Ware and Group Management, the sole

                proprietorship] is the party who, under substantive law, possesses the right to

                 enforce it. See Ex. C, infra, the Dec. 2003 assignment of all claims.

            b. In this matter, the Assignment Agreement, a legally valid and duly executed

                 contractual instrument, clearly and unambiguously vests in Mr. Ware the exclusive

                 right to enforce the claims and causes of action formerly belonging to Group

                 Management Corp. As such, Appellant Ware, as the lawful assignee and current

                 holder of these claims, is the undisputed real party in interest and the only proper

                party authorized to prosecute the instant appeal.11


B. Appellant Ware's Personal Ownership of Claims Entitles Him to Pro Se
Representation.

        Because Appellant Ware d/b/a as Group Management, see Ex. D, infra, now holds all legal

and equitable title to all claims and causes of action at issue in his individual capacity d/b/a as

Group Management, as the lawful assignee thereof, his and Group Management's appearance

before this Court in pursuit of these claims is not subject to the rule against corporate pro se

representation. Rather, Appellant Ware and Group Management, a sole proprietorship, see Ex. D,

infra, are asserting his/their own personal property rights in these assigned claims, and is thus,

lawfully entitled to proceed prose pursuant to 28 U.S.C. § 1654.


     1. Rule Against Corporate Pro Se Representation Inapplicable to Individuals




11
   See, e.g., Clark & Hutchins, The Real Party in Interest, 34 Yale L. J. 259, 264-265 (1925) (noting that
the changes in the law permitted both the assignee with "naked legal title" and the assignee with an equitable
interest in a claim to bring suit).

Page 15 of 37
Tuesday, February 25, 2025
(16-5) (Part 16-5) re Appellants' Declaration of Undisputed Facts and response to the Court's 0kt. 4,
Order, Feb. 13, 2025 .
     Case 1:25-cv-00613-MLB             Document 15-2          Filed 03/19/25        Page 20 of 47



            a. It is well-settled law that a corporation or limited liability company, as artificial

                legal entities, must be represented by licensed counsel and cannot appear in federal

                court prose. Palazzo v. Gulf Oil Corp., 764 F.2d 1381 , 1385 (11th Cir. 1985).

            b. However, this rule against corporate pro se representation is explicitly and

                exclusively limited to corporations, partnerships, limited liability companies, and

                other artificial entities. It has no application to a natural person such as Mr. Ware,

                or Group Management, a sole proprietorship, who are asserting their own

                "personal" and individual legal rights and property interests through his solely

                owned sole proprietorship, Group Management, see Ex . D, infra. The Supreme

                Court has clearly delineated this distinction, holding that only "artificial entities"

                are barred from pro se representation, while "natural persons," Appellant Ware,

                retain the fundamental right to represent themselves and their sole proprietorship

                business interest. Rowlandv. California Men's Colony, 506 U.S. 194,202 (1993)

                (stating that only natural persons [Mr. Ware d/b/a Group Management, a sole

                proprietorship] can appear in federal court prose). (emphasis added).

     b. Rule 17(a)(l)(G) and Practical Considerations Favor Pro Se Appearance 12


12
   Rule 17. Plaintiff and Defendant; Capacity; Public Officers
(a) Real Party in Interest.
( 1) Designation in General. n action must be prosecuted in the name of the real, parly in interest. The
following may sue in their own names without joining the person for whose benefit the action is
brought:
(A) an executor;
(B) an administrator;
( C) a guardian;
(D) a bailee;
(E) a trustee of an express trust;
(F} a party with whom or in whose name a contract has been made for another's benefit; and
(G) a (P,ro se, Ap ellants W_!!re and GI.oup_Management} par!Y a.uthoriz~c! bi statute [28 USC §
 654.


Page 16 of 37
Tuesday, February 25, 2025
(16-5) (Part 16-5) re Appellants' Declaration of Undisputed Facts and response to the Court's 0kt. 4,
Order, Feb. 13, 2025 .
    Case 1:25-cv-00613-MLB              Document 15-2          Filed 03/19/25        Page 21 of 47



            a. Rule 17(a)(l)(G) is designed to ensure that litigation is pursued by the party who

                actually possesses the legal rights being asserted, Appellant Ware d/b/a Group

                Management. Here, Appellant Ware, as the lawful assignee of all legal and

                equitable clairl}S, is demonstrably that real party in interest. To compel Appellant

                Ware to retain separate counsel to represent himself via Group Management in

                enforcing claims that he "personally" owns would be a legally formality, serving

                no legitimate procedural or substantive purpose, and is contrary and directly

                opposed to Supreme Court precedent, Rowland, Id. and federal law, 28 USC §

                1654.

            b. Recognizing Appellant Ware's "fundamental" legal right to proceed pro se via

                d/b/a Group Management in this matter promotes judicial efficiency and clarity by

                streamlining the proceedings and ensuring that the litigation is controlled and

                prosecuted by the individual, Appellant Ware, who has a direct "legally protected

                interest" and personal stake in the outcome. Lujan, 504 U.S . at 560-61.


C. No Prejudice to Any Other Party from Pro Se Representation

        Recognition of Appellant Ware d/b/a Group Management as the Rule 17(a)(l )(G) real

party in interest read in pari materia with 28 USC § 1654 required by prevailing law discussed

herein authorizes Appellants Ware and Group Management to appear herein as Appellants in pro

se status. Appellees-Respondents remain fully entitled, to the extent each is not prohibited by res

judicata and collateral estoppel of the late District Judge Sand, 02cv2219 (SDNY) Dec. 20, 2007,

Dkt. 90, Fed. R. Civ. P. Rule 41(a)(2) voluntary final iudgment, to challenge the merits of the

claims being asserted, to raise any legitimate defenses, and to vigorously litigate the appeal. The



Page 17 of 37
Tuesday, February 25, 2025
(16-5) (Part 16-5) re Appellants' Declaration of Undisputed Facts and response to the Court's Dkt. 4,
Order, Feb. 13, 2025.
    Case 1:25-cv-00613-MLB              Document 15-2          Filed 03/19/25        Page 22 of 47



recognition of Appellant Ware, personally and individually an 11 USC§ 1109(b) statutory party

in interest as determined by the Bankruptcy Court (Murphy, J.), has suffered irreparable injuries

to his direct and personal pecuniary interest (+$5.2225 billion) as a result of the frauds and crimes

committed by KTS, its clients, and the Appellees before, during, and after the Chapter 11.

Accordingly, Appellant Ware personally and through Group Management, a sole proprietorship,

has Article III standing, Lujan, 504 U.S. at 560-61 , to "personally" prosecute this 25cv00613

appeal in his own name, and in the name of Ulysses T. Ware d/b/a Group Management (sole

proprietorship) assignee of all legal and equity claims previously owned by the Chapter 11 Debtor,

defunct Group Management Corp. Sprint, Id., Rule 17(a)(l)(G).


IV. CONCLUSION ·
        For the foregoing reasons, Appellants Ulysses T. Ware and Group Management, jointly,

respectfully assert fully supported by the factual record presented in the Bankruptcy Court and in

the Rule 8009(d) Joint Stipulated Appellate Record, herein that this Honorable Court formally

recognize him, individually as an 11 USC§ 1109(b) statutory party in interest, and (ii) as sole

and only Rule 17(a){l)(G) real party in interest under Federal Rule of Civil Procedure

l 7(a)(l)(G) with respect to the claims and causes of action validly and legally assigned to him by

Group Management Corp. on December 31, 2003 , see Ex. C, infra.


        Appellant Ware having purchased 100% of the corporation's assets and claims for good

and valuable consideration, and having been duly assigned all legal and equitable rights previously

belonging to the defunct corporation, see Ex. C, infra, Mr. Ware in law stands alone as the rightful




Page 18 of 37
Tuesday, February 25, 2025
(16-5) (Part 16-5) re Appellants' Declaration of Undisputed Facts and response to the Court's Dkt. 4,
Order, Feb. 13, 2025.
     Case 1:25-cv-00613-MLB              Document 15-2          Filed 03/19/25        Page 23 of 47



and lawful owner of these claims and is fully entitled to prosecute them pro se before this Court. 13

Respectfully submitted this 25th day of February, 2025.


/    l sses T. Ware
                ;i, Wt>-<-
r e O ice of Ulysses T. Ware
Ulysses T. Ware, Pro Se
123 Linden Blvd., Ste. 9-L
Brooklyn, NY 11226
(718) 844-1260
utware007@gmail.com




13
   Note that none of the Appellees named in the Notice of Appeal, Dkt. 279, according to the Rule 5003
official record, appeared in the 03-93031 Bankruptcy Court (NOGA) and presented any factual record that
Appellant Ware is not the lawful and legal owner of all legal and equitable rights of the former now defunct
since Dec. 2003 Chapter 11 Debtor, and is therefore, the Fed. R. Civ. P. Rule l 7(a)(l)(G)- that is, 28 USC
§ 1654, "real party in [having legal] interest" and thus, each Appellee having actual and/or constructive
notice of the proceedings in the Bankruptcy Court each Appellee has knowingly and willfully waived,
forfeited, and abandoned any right to appear in the District Court and make any argument regarding this
matter. See United Student Aid Fund, Inc. v. Espinosa, 559 U.S. 260 (2010) (having actual notice ofthe
proceedings in the bankruptcy court the party waived, forfeited , and abandoned all procedural due process
rights by not appearing and asserting its position on the matter).

Page 19 of 37
Tuesday, February 25, 2025
(16-5) (Part 16-5) re Appellants' Declaration of Undisputed Facts and response to the Court's Dkt. 4,
Order, Feb. 13, 2025.
    Case 1:25-cv-00613-MLB              Document 15-2           Filed 03/19/25        Page 24 of 47




                          Exhibits




Page 20 of 37
Tuesday, February 25, 2025
(16-5) (Part 16-5) re Appellants' Declaration of Undisputed Facts and response to the Court' s Dkt. 4,
Order, Feb. 13, 2025.
    Case 1:25-cv-00613-MLB               Document 15-2          Filed 03/19/25        Page 25 of 47



Exhibit A-25cv00613 (NDGA) Dkt. 4, Feb. 13, 2025, Order

                   Case 1:25-cv-00613-MLB     Document 4    Filed 02/13/25   Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                       F OR THE NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVIS ION


             illysses T. Ware and Group
             Management,

                                      Appellants,
                                                         Case No. 1:25-cv-613-MLB
             v.

             Alpha Capital, AG, et al.,

                                      Appellees,
             _ _ _ _ _ _ _ __ _ _ _ _ _!

                                                ORDER

                  Appellants illysses T . Wa:re and Group Management seek to appeal

            an order entered by the United States Bankruptcy Court for the Northern

            District of Georgia. After reviewing the bankruptcy record, the Court

            n otes that Appella n ts paid the required filing fee on February 12, 2025.

            (See 02/12/2025 Docket Entry in Bankruptcy Case No. 03-93031.)

                  The Court also notes, however, that Appellant Group Management

            is not represented by counsel. Th e Court NOTIFIES Appellant Group

            Management that a corporation cannot appear pro se and must be

            represented by counsel. Palazzo v. Gulf Oil Corp., 764 F .2d 1381, 1385




Page 21 of 37
Tuesday, February 25, 2025
(16-5) (Part 16-5) re Appellants' Declaration of Undisputed Facts and respo nse to the Court's Dkt. 4,
Order, Feb. 13, 2025.
     Case 1:25-cv-00613-MLB              Document 15-2          Filed 03/19/25         Page 26 of 47




                    Case 1:25-cv-00613-MLB     Document 4    Filed 02/13/25   Page 2 of 2




             (11th Cir. 1985). "This rule applies even when the person seeking to

             represent the corporation is its president .... " CNH Capital Am., LLC

             v. Se. Aggregate, Inc., No. CV608-027, 2009 WL 1468999, at *1 (S.D. Ga.

             May 26, 2009) (quoting F.T.C. v. Gem Merch. Corp., No. 95-8364, 1995

             WL 623168, at *1 (11th Cir. 1995)); see also LR 83.1E(2)(b)(I), NDGa.

                   The Court ORDERS Appellant Group Management to have

             counsel file a notice of appearance with the Clerk no later than March 6,

             2025. Failure to comply with this order may result in sanctions against

             Appellant Group Management, including dismissal.

                   The Court DIRECTS the Cle1·k to submit this matter after Mru·ch

             6, 2025, if an attorney does not file a notice of appearance on behalf of

             Appellant Gwup Management.

                   SO ORDERED this 13th day of February, 2025.




                                               UN11'ED STATES DISTRICT JUDGE




                                                     2




Page 22 of 37
Tuesday, February 25, 2025
(16-5) (Part 16-5) re Appellants'· Declaration of Undisputed Facts and response to the Court's Dkt. 4,
Order, Feb. 13,2025.
     Case 1:25-cv-00613-MLB              Document 15-2           Filed 03/19/25        Page 27 of 47



Exhibit B-Ulysses T. Wa_re's Feb. 25, 2025, Declaration of undisputed material facts.

                            UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION



Ulysses T. Ware and Group Management (a sole proprietorship: successor in interest to the
Chapter 11 Debtor),

        Appellants,

        v.

Alpha Capital, AG, 14 et al.,

        Appellees.

                                            on appeal from:

In re:
GROUP MANAGEMENT CORP., Chapter 11
Debtor. Case No.: 03-93031 (BC NDGA) (WLH)

DECLARATION OF UNDISPUTED MATERIAL FACTS OF APPELLANT ULYSSES T.
WARE IN RESPONSE TO DISTRICT COURT ORDER DKT. 4 (CASE NO. 25CV00613
NDGA) REGARDING REPRESENTATION OF APPELLANT GROUP MANAGEMENT
- CLARIFYING SOLE PROPRIETORSHIP STATUS.




14
  Appellees Alpha Capital, AG, Stonestreet L.P., Markham Holdings, Ltd., and Amro International, S.A.,
the clients of Appellee Atlanta, GA law firm Kilpatrick, Townsend, & Stockton, LLP ("KTS"), see Dkt. 11
(03-93031), were certified on May 17, 2021 , by FINRA's senior executive Marcia E. Asquith, Esq. as
unregistered broker-dealers operating in the United States in violation of the federal securities laws, 15
USC§ 78o(a)(l) and 18 USC§ 1961(6)(B)' who have since 2001 without interruption conducted, operated
as an illegal association in fact ~s defined in 18 USC § 1961 (4), a racketeering predatory unlawful debt
collecting, 18 USC§ 1961 (6)(B) 1 continuing criminal enterprise, unlawful debt collection activities in the
03-93031 Chapter 11 , see Dkt. 11 , 15, and 16, predatory loan sharking of criminal usury debts, GX 1-4,
money laundering, extortion, murder for hire, bankruptcy fraud conspiracy, theft of Chapter 11 estate
assets (+$522 million in 15 USC§ 78p(b) strict-liability short-swing profits), and racketeering, a pattern of
racketeering activities. See Rule 8009(d) Joint Stipulated Appellate Record Facts.

Page 23 of 37
Tuesday, February 25, 2025
(16-5) (Part 16-5) re Appellants' Declaration of Undisputed Facts and response to the Court's Dkt. 4,
Order, Feb. 13, 2025.
    Case 1:25-cv-00613-MLB              Document 15-2          Filed 03/19/25        Page 28 of 47




                        The Office of Ulysses T. Ware
                                      123 Linden Blvd., Ste 9-L
                                        Brooklyn, NY 11226
                                           (718) 844-1260
                                       utware007@gmail .com




            Declaration of Appellant Ulysses T. Ware
I, Ulysses T. Ware, hereby this 25 th day of February 2025 , in Brooklyn, NY under oath, subject to

the penalty of perjury, having personal knowledge of the facts, declare under penalty of perjury,

pursuant to 28 U.S .C. § 1746, as follows:


    1. Identity and Capacity: I am Ulysses T. Ware, an individual, a natural person, and the sole

        proprietor of Appellant Group Management, see Ex. D, infra, which is the successor in

        interest to the Chapter 11 Debtor, Group Management Corp., in the above-captioned

        Bankruptcy Case No. 03-93031 (WLH) and 25cv00613 (NDGA). I am filing this

        Declaration in direct response to the Order issued by the United States District Court for

        the Northern District of Georgia, Case No. 25cv00613 (MLB), Docket Entry 4, dated

        February 13, 2025 (the "District Court Order"), and attached hereto as Exhibit A.

    2. Clarification Regarding Nature of Group Management - Sole Proprietorship, Not

        Corporation: Appellants respectfully submit this Declaration to clarify a critical factual

        predicate: Appellant Group Management is not a corporation registered under any state

        corporate charter as of December 2003 . See Ex. C, infra. Rather, Group Management is,

        and at all relevant times has been since December 2003 , a sole proprietorship, wholly

        owned and managed by me, Ulysses T. Ware, as its sole proprietor- there are no other

        interested parties in Group Management. Group Management, as a sole proprietorship, is


Page 24 of 37
Tuesday, February 25, 2025
(16-5) (Part 16-5) re Appellants' Declaration of Undisputed Facts and response to the Court's Dkt. 4,
Order, Feb. 13, 2025.
    Case 1:25-cv-00613-MLB              Document 15-2          Filed 03/19/25        Page 29 of 47



        registered with the Internal Revenue Service (IRS) under my individual taxpayer

        identification number, and operates solely as an unincorporated business entity directly

        owned and controlled by me as an individual. See Ex. D, infra.

    3. District Court Order Dkt. 4 - Misapprehension Regarding Corporate Status:

        Appellants-Movants acknowledge the District Court's Order, Dkt. 4, which "NOTIFIES

        Appellant Group Management that a corporation cannot appear pro se and must be

        represented by counsel," citing Palazzo v. Gulf Oil Corp., 764 F.2d 1381, 1385 (11th Cir.

        1985). Appellants-Movants respectfully submit that the District Court's directive in Dkt. 4

        appears to be predicated upon a misunderstanding of the legal status of Appellant

        Group Management, presuming it to be a corporation or other separate legal entity that

        would be subject to the rule against pro se corporate representation. See Ex. B, infra. It is

        not an artificial entity, rather Group Management is a sole proprietorship , see Ex. D, infra

        (IRS sole proprietorship certificate).

    4. Palazzo and Rule Against Corporate Pro Se Representation Inapplicable to Sole

        Proprietorships: The legal precedent cited by the District Court in Dkt. 4, Palazzo v. Gulf

        Oil Corp., and the well-established rule against corporate prose representation, are wholly

        inapplicable and inapposite to the present matter because Group Management is not a

        corporation. The rule articulated in Palazzo and similar cases, as the Supreme Court has

        definitively clarified, applies exclusively to "corporations, partnerships, or associations"

        which, as "artificial entities," can only appear in federal court through licensed counsel.

        See Rowland v. California Men's Colony, Unit II Men's Advisory Council, 506 U.S. 194,

        201-02 (1993). This rule does not extend to individual sole proprietors operating their




Page 25 of 37
Tuesday, February 25, 2025
(16-5) (Part 16-5) re Appellants' Declaration of Undisputed Facts and response to the Court's 0kt. 4,
Order, Feb. 13, 2025.
    Case 1:25-cv-00613-MLB              Document 15-2          Filed 03/19/25        Page 30 of 47



        businesses under a trade name- that is, Appellant Ulysses T. Ware d/b/a Group

        Management (a sole proprietorship). See Ex. D, infra (IRS certificate) .

    5. Right of Individual Sole Proprietor to Represent Business Pro Se: As previously

        declared to the Bankruptcy Court, it is a fundamental and long-established principle of law

        that an individual may represent themselves prose in federal court, pursuant to 28 U.S .C.

        § 1654. This "fundamental" right of self-representation encompasses the right of an

        individual sole proprietor to "personally" represent their own business interests and

        activities in federal court, as the sole proprietorship [Appellant Group Management] y_

        not a separate legal entity distinct from the individual owner [Appellant Ware]. Cf., Ex.

        D, infra.

    6. Appellant Ulysses T. Ware Representing His Own Business as Sole Proprietor - Not

        Representing Separate Entity: In representing Appellant Group Management in Case

        No. 25cv00613 (NDGA) and the underlying Bankruptcy Case, I, Appellant Ulysses T.

        Ware, am not acting as counsel for a separate corporate entity. but am fundamentally

        exercising my "fundamental right" to represent my own business interests and activities,

        operating under the trade name Group Management as a sole proprietorship. My and Group

        Management' s appearance in these proceedings is, therefore, a permissible and lawful

        exercise of my right to pro se representation, and is fully consistent with the statutory rights

        under 28 U.S.C. § 1654 and Supreme Court precedent.

    7. No Procedural or Ethical Impediment to Pro Se Representation of Sole

        Proprietorship: There is no procedural rule, legal authority, or ethical principle that would

        require a "natural person" Appellant Ware, who operates a business, Group Management,

        as a sole proprietorship to retain separate counsel to represent that sole proprietorship in


Page 26 of 37
Tuesday, February 25, 2025
(16-5) (Part 16-5) re Appellants' Declaration of Undisputed Facts and response to the Court's Dkt. 4,
Order, Feb. 13, 2025.
     Case 1:25-cv-00613-MLB               Document 15-2           Filed 03/19/25         Page 31 of 47



        federal court, see 28 USC§ 1654. To impose such a requirement on Appellants would be

        a formality, would impose an unwarranted financial burden on individual sole proprietors,

        and would directly contravene the established statutory right, 28 USC § 1654, of self-

        representation in federal courts.

     8. As the sole owner of all assets and rights of the former Group Management Corp.,

        lawfully acquired by contracts for good consideration in December 2003, see Ex. C, infra,

        Appellant Ware is the Fed. R. Civ. P. l 7(a) "real party in interest" with respect to all aspects

        of all claims the Chapter 11 Debtor possessed. 15


WHEREFORE, I, Appellant Ulysses T. Ware, hereby declare and affirm to the United States

District Court for the Northern District of Georgia that Appellant Group Management is a sole

proprietorship, not a corporation , and that I, Appellant Ulysses T. Ware, as the sole proprietor,

see Ex. D, infra, am authorized pursuant to federal law, 28 USC § 1654, and legally and have the

statutory right, and is entitled to represent Group Management, a sole proprietorship, pro se in

Case No. 25cv00613 (NDGA) and the underlying Bankruptcy Case No. 03-93031 (WLH).

Appellants-Movants respectfully request that the District Court accept this Declaration as

clarification of the status of Appellant Group Management and permit Appellants to proceed with

their appeal accordingly.


Dated: February 25 , 2025

Respectfully submitted under penalty of perjury,


15
  28 USC§ 1654: In all courts [03-93031 (BC NDGA) and/or 25cv00613 (NDGA)] of the United States tlie
parties (Appellants Ware, a natural person, and 11 USC § 1109(b) statutory paity in interest in the Chapter 11]
and Group Management, successor in interest to the Chapter 11 Debtor, a sole proprietorship. see Ex. D. infra]
may plead and conduct their own cases personallv (pro se] or by counsel as. by the rules of such comts.
respectively, are pe1mitted to manage and conduct causes therein.

Page 27 of 37
Tuesday, February 25, 2025
(16-5) (Part 16-5) re Appellants' Declaration of Undisputed Facts and response to the Court' s Dkt. 4,
Order, Feb. 13, 2025 .
     Case 1:25-cv-00613-MLB             Document 15-2          Filed 03/19/25        Page 32 of 47




t}JIJ]~~s Tg_W~w~
UL   .;;/,"{1 T. WARE           .

Pursuant to 28 USC§ 1654 attorney in fact for Appellants: Ulysses T. Ware, a natural person,

individually, an 11 USC§ 1109(b) statutory party in interest and Sole Proprietor of Group

Management (successor in interest to the Chapter 11 Debtor). 16




16
  See Ex. C-December 2003 Group Management Corp.'s Asset sale, rights assignment, and transfer for
consideration to Ulysses T. Ware, which has since 2003 operated as Ulysses T. Ware d/b/a Group
Management (a sole proprietorship), cf., Ex. D, infra, IRS sole proprietorship certificate.

Page 28 of 37
Tuesday, February 25, 2025
(16-5) (Part 16-5) re Appellants' Declaration of Undisputed Facts and response to the Court's Dkt. 4,
Order, Feb. 13, 2025 .
     Case 1:25-cv-00613-MLB               Document 15-2           Filed 03/19/25        Page 33 of 47



                                               EXHIBIT A

Order Entered by the United States District Court for the Northern District of Georgia, Case No.
25cv00613 (MLB), Docket Entry 4, dated February 13 , 2025

                   Case 1:25-cv-00613-MLB      Document 4     Filed 02/13/25   Page 1 of 2




                        IN THE UN ITED STATES DISTRICT COU RT
                       FOR THE NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION


             Ulysses T. Ware and Group
             M anagement,

                                       Appellants,
                                                            Case No. 1:25-cv-613-MLB
             V.


             Alpha Capital, AG, et al. ,

                                       Appellees
             _ _ _ _ __ _ _ _ __ _ ____,!

                                                 ORDER

                   Appellan ts Ulysses T. Ware and Group Man agement seek to appeal

            an order entered b y the United States Bankruptcy Court for the Northern

            District of Georgia. After reviewin g the bankruptcy record, the Court

            notes that Appellants paid the required filing fee on February 12, 2025.

            (See 02/12/2025 Docket Entry in Ba n kruptcy Case No. 03-93031.)

                   The Court also notes, however, that Appellant Group Management

            is not represented by counsel. The Court NOTIFIES Appellant Group

            Management t h at a corporation cannot appear pro se and must be

            represented by counsel. Palazzo u. Gulf Oil Corp., 764 F.2d 1381, 1385




Page 29 of 37
Tuesday, February 25, 2025
(16-5) (Part 16-5) re Appellants' Declarat ion of Undisputed Facts and response t o the Court' s Dkt. 4,
Order, Feb. 13,2025.
    Case 1:25-cv-00613-MLB              Document 15-2          Filed 03/19/25           Page 34 of 47




                   Case 1:25-cv-00613-MLB     Document 4    Filed 02/13/25   Page 2 of 2




            (11th Cir. 1985). "This rule applies even when the person seeking to

            represent the corporation is its president . ..." CNH Capital Am., LLC

            v. Se. Aggregate, Inc., No. CV608-027, 2009 WL 1468999, at *1 (S.D. Ga.

            May 26, 2009) (quoting F.T.C. v. Gem Merch. Corp., No. 95-8364, 1995

            WL 623168, at *1 (11th Cir. 1995)); see also LR 83.1E(2)(b)(I) , NDGa.

                  The Comt ORDERS Appellant Group Management to have

            counsel file a notice of appearance with the Clerk no later than March 6,

            2025. Failure to comply with this order may result in sanctions against

            Appellant Group Management, including dismissal.

                   The Court DIRECTS the Cle1·k to submit this matter after March

            6, 2025, if an attorney does not file a notice of appearance on behalf of

            Appellant Group Management.

                   SO ORDERED this 13th day of February, 2025.



                                                 ~
                                              MIQ ELLBROWN
                                              UNITED STATES DISTRICT JUDGE
                                                                                   ..

                                                    2




Page 30 of 37
Tuesday, February 25, 2025
(16-5) (Part 16-5) re Appellants' Declaration of Undisputed Facts and response to the Court's Dkt. 4,
Order, Feb. 13, 2025 .
    Case 1:25-cv-00613-MLB              Document 15-2          Filed 03/19/25        Page 35 of 47



Exhibit C-Dec. 31, 2003 ·Group Management Corp.'s Asset sale, rights assignment,
and transfer contract.




                ASSET PURCHASE AND RJGKTS ASSIGNMENT AGREEMENT

        This ASSET PURCHASE AND RIGHTS ASSIGNMENT AGREEMENT (the
        '"Agreement") Is made and entered lnto as of this 3Jst day of DtK,ember,
        2003 (the "Effective Date"), by and between:
         GROUP MANAGEMENT CORP., a corporation formerly organized and
         existing. under the: laws Of the State of Dell.tware, with Its princl~I place or
         business at 101 Marietta St., Ste 1070, Attanta, GA,- (the " Se:Uer"),

         and
         ULYSSES T. WARE, an lnd{vlduaJ, doing business at 101 Marietta St., Ste
         1070, Atlanta, GA (the "Buyer").

         RECITALS

         WHEREAS, Seller, Group Management ·Corp., previously commenced a
         voluntary case unde-r Chapter 11 of Title 11 of tt)e United States Code in the
         un.ted S~tes Bankruptcy Court for the Northern Pfstrtct of Georgia, Case No~
         03-93031. (WLH) (the "Chapter 11 case"); and

         WffEREAS, the Chapter 11 Case was dlsmlssed with prejudice by Order of
         the Bankruptcy Court entered on or about May 28; 2003, 0kt. 28; and the
         Debtor's Chapter 11 case Is no longer pending; and

         WH£REAS, Seller, Group Management Corp., is now effectively defunct, and
         desires to assign and transfer to Buyer all of Its remainlng assets; lnduding
         but not llmlted to aoy and alt legal and equitable title to all actuaJ and/or
         constructive clalms, <:atises of action, and rtgt\ts of every kind and des<:rlptlon;
         and
         WHEREAS; Buyer, Ulysses T. ware, desires to acquire au of the Seller's
         assets. claims, and causes of actton, and to succeed to the interests of Group                 "
         Management Corp. with respe<=t to any and all 1egal proceedings related
         thereto.
         NOW, THEREFOR£, in consideration of the mutual covenants contained
         herein, and for other good and valuable consideration; the receipt and
         sufficiency of which are hereby ac::knowledged, the parties agree as follows:

        -AGREEMENT




Page 31 of 37
Tuesday, February 25, 2025
(16-5) (Part 16-5) re Appellants' Declaration of Undisputed Facts and response to the Court's Dkt. 4,
Order, Feb. 13, 2025.
    Case 1:25-cv-00613-MLB               Document 15-2           Filed 03/19/25         Page 36 of 47




                1•. A$sigAment and ·Tran~r ,, AUets( For good a~~ valuB;bfe
                    consltle~tl~n, ten dt\lttars ($10:00) the receipt and sufficiency or which
                    ts ,hereby atknowteag.ed, $t,Uet nereby Irrevocably and uncondlttonany
                    sells, conveys, transfers, assigns, and sets over to Buyer, Its suceessots
                    and assigns, an of Seller's rtght, tegal and ~uttabte t1Ue., and Interest In
                    and to,an assets of Seller, of every kind and dc,scrfptlon., whether
                    tangible or· intanglb1e, wt,ethef' nqw known . or ~•.,.•~~r
                    discovered, and wherever 1ltuated {collectiveJy, .tt1e Assets ),
                   lnciudirrg, without limttatton;
                   a • .All Clakns and Causes of :~ction: Arly and an rights,. ctalms,
                   demtmds, causes ·. of aetjon, s-..1ts1 debtsf . dues, sums of mon~Y,·
                   aocoQnts, r:etkonings, bonds, blUs, spect~ltfes,. covenants, contracts,
                   con:troversle$, agreements, :promises, variances, trespasses, damages,
                   Juctg,:nents, executt9r1s, and demands. of wh~tever kind or nature, in
                   law or In equity, whether t(nown nr unknown, asserted or una-sserted,
                   sus~ed or w11uspected, whtth SeUer ~~er had, now h~s, or may
                    h~arter acqutrt against any person or e!'t,lty, indudlng, without
                    llmttat1on, those arising out of or' relating to the Chapter 11 Case, or any
                    ~nsactJons, events, or QCCurrences predating the Chapter 11 Qtse.
                    (cotlecttvely, the "'Claims"). The Asset$ and Claims specifically Include,
                    ~ut ar, not Hmlted,tcr, ,any an~ an claims· ~nd ~use$ of action a~sert,eq
                   .onr$Sertabte:tn conneotJol) wlth_or arisl,ng:from the matters referenced
                    In the Bankruptcy    case No. 03-93031 (WLM) and: related proceedings.
                2.• 'Con.stderat1on. ln consideration for the aS$lgnment ,o f the Assets and
                     Claims ~ereunder, Buyer shaH 'pay to Seller the sum of Ten Dollars
                     ($tO.,OO) . (the ~,tonslderatl()ft")· Seifer acknowle(tges that ·such
                     ConSidetatlon ts good and value.hie amstderetlon and 'is, suffid'ent to
                     supf)Ott the transfer and asstgnment contemplated here.tn.
                3. Furth'er As$urances. seller agrees to e,c,,ecute and deli'ver'$uth further
                    instruments and1 take ,such -further action as              may reasonably be
                    n~sary or apptQpriete           to -more t\llly and ,effectively vest in and
                   <;0ntlrm to Buy-er; ltS su~SOf$ and a~signs. title tot and possession oft
                   the Assets and Clatms i&&lgned hereunder. ·
                4. Governing 1.aw. This Agreement shall be ·govemed by and construed
                   in aecqrdance witb the fa:ws of the State of Georgia, without regard to
                   its conflict of taws pr:intf.ple,s.
                5. Enttre Agreemen~ Tt\ts Agreem~nt tQt,stitutes the ~nt1re agreement.
                   ~een the parties with res~ t:o the·,subject matter hereof and
                   supersedes atl prior or contemporanequs CQmmunl~tions, agreements,
                    end undetstandlrt9s, wheUter orat or written, between the parties
                    -telatlng to, the sul?J~ matter- ntr$of•




Page 32 of 37
Tuesday, February 25, 2025
                                                     •
(16-5) (Part 16-5) re Appellants' Declaration of Undisputed Fact s and response t o the Court's Dkt . 4,
Order, Feb. 13, 2025 .
    Case 1:25-cv-00613-MLB               Document 15-2          Filed 03/19/25        Page 37 of 47




                6. Countflrparts. 1'fti$ Agreement "'8Y be ex~ted fn counterpart$, eatti
                   of which -st,aU be deemed .an ortginal, but ·an f)f whlch togeth~,r shaH
                   cons,mute o~ an,~sthe same t ·          ment~



                                     [ SIGNATURE PAGE FOLLOWS)




Page 33 of 37
                                                  •
Tuesday, February 25, 2025
(16-5) (Part 16-5) re Appellants' Declaration of Undisputed Facts and response to the Court' s 0kt. 4,
Order, Feb. 13, 2025 .
    Case 1:25-cv-00613-MLB              Document 15-2          Filed 03/19/25        Page 38 of 47




            IN WITNESS WHEREOF~ the parties have exeev~d ttllS Pvrchase and
            Assignment Agreement as ;of the .Effective Date first written above.
            SELLER:
            GROUP MANAGEMENT C.ORP.

            ev: Uly,sses:T. Ware, per powet of attorney
            /s/ UlyssesT. W a r e ~ ° ' ~
            BUYER~
            /s/ Uly&1es T. w~re
            ULYSSES T~WARE

           ~ ~ ~ ~··o           · . . -·.
                                       f -     ,
           ~J:e:Prop'i-,eto". · Group Managem~nt
             Dec.ember 31, 2003




                                     A.Plgnment Contra~ ends he.re•




Page 34 of 37
                                                    •
Tuesday, February 25, 2025
(16-5) (Part 16-5) re Appellants' Declaration of Undisputed Facts and response to the Court's Dkt. 4,
Order, Feb. 13, 2025.
    Case 1:25-cv-00613-MLB                        Document 15-2             Filed 03/19/25                 Page 39 of 47



Exhibit D-(IRS Sole Proprietorship Certificate) Group Management (sole
proprietorship) IRS EIN certificate.




                                                                                      e ot t.lHa tH>tit: : 01•20-:2~,:,
                                                                                 lr.ployer lde. -Hi e 101\ ~ t1
                                                                                   J~2        6

                                                                                 1·om1        $&-◄




                            MA!iw.IH:.t,rr
                                          STE 9~L                                f'or aii::i s       Cle
                                        11226                                    1.. oo~U9•4t.'.l

                                                                                 .tr YOU lml'I't, A'f11-Cfl Tit&
                                                                                 STUB .AT. 'rm:. tW or TIil.$ )l(')'ffQ:,




                               W MSI , b y,,u M f'MU.W~ .J             lfrt'lCA'r!ON W.   ,

                    Thank you for pp 'I ng .for    EltpU>}'' r l n if ic.at.lcn N· t' lff}.       s:1 n-ed yo~
            :tm H - :!5ZetrES. Tti .o E .,nu ckn if you, your b!JSiMss cco nts,           x r: turn~. · nd
               1.lt:il!il $, ·11 · n H you ~ no . lo-~s. Pleas keep th ff r.o ic in yoUt ~ ' 1a11ent
                 ·, .
                    a!Cpayers r ~, t ill\ EIN !or- tMi.r ooii nes . SQll':e- tax · 'Jt!f                   e c SJ~ riot ~s \ I ~
             M     ~I:' per.son !Us lltol tt: r i       y and .tre ope.nitl(J • t,u.n                      ng l   r ·jr,fol1Jliition,
            U        did             l' h e Elli , p1ease cont ct \ll ii       h·, pho                     c or      !'-e$:S   l.isted
            Cl'l      Of)                   Ce,

                            .l n   t >t      • n • • ll'IA mg pa\<rnents , or ltf)l y ng o ny re.Lat d <:un J,pondf:nce ,
             ' t hi w:ry    rr,p<>Ttant Utat YQ'-' use your ~IN 4M comp l ete nAl!'e and .tddr M l<(lttly lit sho"1'l
            •bove. Any v.uiali<m IMY ciWU a delay i,1 r .r ocessing 1 tesult 1n 1n,..oueet 1nf omiat,'1on in,
            your acoo t , c,r c\lc(\ caus~ )'0 to     a:sdgrred more th~n o . &tN, 1 ! the in formati.Ot\ 1.t
            ·     t:c     ii.$ fhO'•t\ above. pleat e    t.t.c cor. ct on sing t he att<1eh~ t r-o!f :s~
                      n,1.· tous.
                                              CCII'.   n    11.U:1      y ! l rot U , Endtr Clas:slf.ic.iti.on £.t c 4on,
                                         f ea ali            s:;oc::ia.th)n taxable as a eoq :l1,m1ti0rt. H M U.C ~IIJ
             t!Hqibl.~ to be                       cot- n.Uoo that. meet i. c ctaln l su and it will be el~eting S
            ·corporation s·                        tiJ'lt'lly file rom l~S , Election .t:,y it S111.dl Bu'.S111«!'.1'S
             f:4IPl>r t.ian. The LU:              ~ trl!att<S a$ • conx,rati<in ar, of tile efl c:tiv~ d le o.C t      S
            corpotaUOJ'I     L e •<»l   nd dtic~ rto       ~ .   o rue Po    a Jt .
                                <)   aM p U tioiu. i lu inq tho e re!ere:nC<!<i in this hotie.i,
            v1 · J our .  iut~ t ww . r1t.1oV, lf you do riot have at:t: ti-!l to tht! Tilt rn t .U
            HtOO- 29- )616 lffi!'WD l•lt)(J,.IJ.2'-4059'1. ot vi~it )'Ollr J,oeal ms of l •




Page 35 of 37
Tuesday, February 25, 2025
(16-5) (Part 16-5) re Appellants' Declaration of Undisputed Facts and response to the Court's Dkt. 4,
Order, Feb. 13, 2025 .
    Case 1:25-cv-00613-MLB                            Document 15-2                    Filed 03/19/25                 Page 40 of 47




           ~MOJalill:.
            i       l(ef! a copy t>t this ~otlizt:t i.n y~t ~ffMn· 11• rceatds. this oo ieo 1$ J t        ~ .ly
                    em« t ~ tt!\d Vt~ lM wHl l'\Qt        ablct to . qeMxat.e ii dupHc.t.t y lot - yot,o, '<ov
                    fMY 'fi've 3 t:::C¥Y (if thh oo~n . ti:> .li:!1¢1'~ nuog toi pr~f of y1,ut El».
            ,       Oan hi:s tl:IN and' yo<Ut nAJ!le e,i;Actl.y · • 'tl~}•
                    your t   till t.u.- tc · . ,
            •       Refer to, thU &1          (UI your tilK"'Ull tf!d    cu.r t ~po~ l';e tlnd ~ n h .
            • ~r1>vH!~ .f'Uitut:e _t.1!Cl«,e;t:f!> 9of \,'01.i.t (>1;:iJ;ltth,a,,t -iQn wlUis-a 't.i>:fi;t :or t.hu ootlt,i.
           Yon·r n             t(?i\t.tol 1\#.:l~l' te.d w. tfl hie tni a WAR£. You vJ H nt't'd n prov! ·                       fib
            i:n:fonMt.fon          lonq with yr:nn SHI, H            Ule yout cc um, ' l  u>nkally.
           sa.f~•td your ttN by r '. rrtnq t.o . Uc,-tton •-SS'I,, fulf' ~tdJttg 'ta~yei
           DatM II (.1.)1®         tor Y¢UJ' llu:Silm!'!$'.,     . ,

           Ye-u c.n g,ttt any of t~ to~ cu f)!.lbhc.atfon3 l"IMti~ i n. this l;)tt<,r J>y
           v.tstUng Qlll'. wcliitU:c ~t li/!IIW,.1 rs,gov/M~;"p®.$ Ot' by e.t.U.it:19 91lt>~TM·faffl
            f800•82J,J676} ,                                               ·
           :U you h,tv· qu. • !on" : ut your m • •-yrru ,e n cont.al; 1J11 at h ptwn~ n ~ t
           ct: addte~a- ~11i.ted. a tm tqp ot: tfl,i$ _m:> tee. U voi, 1tdte, ,pl~tue eat ott t.tw;
           -st.11 at t.rut bot,t..itrLof t.llu ·notice and 1nel1~ h : wHJi yo-ur I                        rr.
                    '                     .
           'ttian       yOtI f:oJ/ yqur cooper:,atfon.




                · et\lrn Ws- pat wJ.t.h- any coue ..~l'ldefi~
                .-.o we • ·Y idant.ify vou.r acc:<iunt. Plt?~se                                                                CP 515 -cr
                ,¢o t>eet any tn:tor-11 .il'I y.:iur naim or ~Msa.
                                                                                                                      t,9,ut iJJ

                YtrQc         l~pbone ~ : r       liest 'h     to 0$11 DA'E& OF 'ffi.ts NO'tltt: 01-20--202?;
                t         }                                            wtona 1~u1t>.1100 NUMB.ERi 3;1-2~:e ne
                                                                               ro~: ss-~                          JIDBOD




            l ~ WID.Nt !.t.mtt,ct
            e1uelNN.\Tt          on    -4~91,-Qoi:1
           .LI.J,U,U,,1,1,,l.f~,tt,.,lli,.,,J,f..tl,Mnt


Page 36 of 37
Tuesday, February 25, 2025
(16-5) (Part 16-5) re Appellants' Declaration of Undisputed Facts and response to the Court's 0kt. 4,
Order, Feb. 13, 2025 .
    Case 1:25-cv-00613-MLB              Document 15-2          Filed 03/19/25        Page 41 of 47




                                Certificate of Service
I, Ulysses T. Ware, attorney in fact for the Appellants, hereby certify under penalty of perjury that

on this 25th day of February 2025, I caused to be served a true and correct copy of the foregoing

DECLARATION OF ULYSSES T. WARE IN RESPONSE TO DISTRICT COURT

ORDER DKT. 4 (CASE NO. 25CV00613 NDGA) REGARDING REPRESENTATION OF

APPELLANT GROUP MANAGEMENT - CLARIFYING SOLE PROPRIETORSHIP

STATUS, including Exhibits, via electronic filing with the United States District Court for the

Northern District of Georgia in Case No. 25cv00613 (MLB) and by U.S. Mail to the Clerk of the

United States District Court for the Northern District of Georgia, Richard B. Russell Federal

Building and United States Courthouse, 75 Ted Turner Drive, S.W., Atlanta, Georgia 30303 ; and

on each Appellee named in the Notice of Appeal, 0kt. 279, public email address.


Isl Ulysses T. Ware


~ ·}rw~
12:34:51 PM




                                    End of document




Page 37 of 37
Tuesday, February 25, 2025
{16-5) {Part 16-5) re Appellants' Declaration of Undisputed Facts and response to the Court's Dkt. 4,
Order, Feb. 13, 2025.
     Case 1:25-cv-00613-MLB           Document 15-2        Filed 03/19/25       Page 42 of 47


                                                                                        PLAINTIFF'S
                                                                                          EXHIBIT
                                                                                              3
                             (16-5--NOP) (Part 16-5--NOP) (MLB)

                           UNITED ST ATES DISTRICT COURT
                           NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION



ULYSSES T. WARE and GROUP MANAGEMENT,
Appellants,

V.

ALPHA CAPITAL, AG, et al.,
Appellees.



                         NOTICE OF APPEARANCE OF COUNSEL

                                Case No. 25cv00613 (MLB)
                 (Appeal from Bankruptcy Court Case No. 03-93031 (WLH))

PLEASE TAKE NOTICE that Ulysses T. Ware, hereby enters his appearance as Attorney in

Fact for Appellant Group Management, a sole proprietorship , in the above-entitled action.


Appellant Group Management, a sole proprietorship, is authorized to be represented in these

proceedings prose by its sole proprietor, Ulysses T. Ware, pursuant to 28 U.S.C. § 1654, which

provides that "In all courts of the United States the [natural persons and sole proprietorship]

parties may plead and conduct their own cases personally or by counsel ... ".


All notices, pleadings, motions, orders, and other papers in this action should be served upon:


Ulysses T. Ware, Attorney in Fact for Appellant Group Management
The Office of Ulysses T. Ware
123 Linden Blvd., Ste 9-L
Brooklyn, NY 11226

Page 1 of 2
Tuesday, February 25, 2025
(16-5-NOP) (Part 16-5-NOP) re Appellant Group Management's counsel's entry of appearance in
25cv00613 (NOGA) .
    Case 1:25-cv-00613-MLB            Document 15-2         Filed 03/19/25       Page 43 of 47




(718) 844-1260
utware007@gmail.com

Dated: February 25, 2025

Respectfully submitted,

/s/ Ulysses T. Ware
C7)1~::;. w~
Ulyss~ T. Ware

Attorney in Fact for Appellant Group Management, a sole proprietorship



                               Certificate of Service
I, Ulysses T. Ware, attorney in fact for the Appellants, hereby certify under penalty of perjury that

on this 25th day of February 2025, I caused to be served a true and correct copy of the foregoing

NOTICE OF APPEARANCE OF COUNSEL via electronic filing with the United States

District Court for the Northern District of Georgia in Case No. 25cv00613 (MLB) and by U.S.

Mail to the Clerk of the United States District Court for the Northern District of Georgia, Richard

B. Russell Federal Building and United States Courthouse, 75 Ted Turner Drive, S.W., Atlanta,

Georgia 30303 .


~~ w
   ~:w"""
Ulysses T. Ware




                                  End of document


Page2of2
Tuesday, February 25, 2025
(16-5-NOP) (Part 16-5-NOP) re Appellant Group Management's counsel's entry of appearance in
25cv00613 (NDGA).
            Case 1:25-cv-00613-MLB               Document 15-2           Filed 03/19/25         Page 44 of 47



M Gmail                                                                             Ulysses Ware <utware007@gmail.com>



02.25.25 re 25cv00613 (NOGA) re Appellants' Ulysses T. Ware and Group
Management's response to Dkt. 4, Order (Brown, J.) and Group Management's
counsel's entry of appearance in 25cv00613 (NOGA).
Ulysses Ware <utware007@gmail.com>                                                              Tue, Feb 25, 2025 at 1:42 PM
To: Jessica_Kelley@gand.uscourts.gov
Bee: Ulysses Ware <UTWARE007@gmail.com>, lawyers@mignottlaw.com
                                                                                                    PLAINTIFF'S
                                                                                                      EXHIBIT
                                            ( 16-5) (Part 16-5)                                           4-
                              The Office of Ulysses T. Ware
                                                  123 Linden Blvd., Ste 9-L
                                                     Brooklyn, NY 11226
                                                       (718) 844-1260
                                                   utware007@gmail.com

                                               February 25, 2025, 1:37:39 PM

 VIA ELECTRONIC AND U.S. MAIL

 The Honorable Judge Michael L. Brown
 United States District Court
 Northern District of Georgia
 Richard B. Russell U.S. Courthouse
 75 Ted Turner Drive , SW
 Atlanta , GA 30303

 Re: Ware, et al. v. Alpha Capital, et al., Case No. 25cv00613 (NOGA)

 Enclosures: (1) Appellants' Response to the District Court, Brown , J. , 0kt. 4, February 13, 2025, Order; and (2) Appellant
 Group Management's Entry of Appearance of Counsel in 25cv00613 (NOGA).

 Dear Judge Brown:

 Appellants-Movants , Ulysses T. Ware and Group Management, a sole proprietorship, respectfully submit this letter to
 provide the Court with copies of the following documents, which are being concurrently filed with the Clerk of the District
 Court in the above-referenced matter, Case No. 25cv00613 (NOGA):

         1. Appellants' Response to the District Court, Brown, J., Dkt. 4, February 13, 2025, Order: This Response
         is submitted in direct compliance with the Court's Order, Docket Entry 4, dated February 13, 2025, and
         respectfully addresses the Court's inquiry regarding the representation of Appellant Group Management,
         clarifying its status as a sole proprietorship and affirming Appellant Ulysses T. Ware's right to represent Group
         Management prose pursuant to 28 U.S.C. § 1654.

         2. Appellant Group Management's Entry of Appearance of Counsel in 25cv00613 (NDGA): This Notice of
         Appearance formally enters the appearance of Ulysses T. Ware as Attorney in Fact for Appellant Group
         Management, a sole proprietorship, consistent with federal law and the arguments presented in Appellants'
         Response to 0kt. 4.

 Appellants-Movants respectfully submit these fil ings to ensure full compliance with the Court's directives and to provide
 the Court with a clear and comprehensive understanding of the representation status of Appellant Group Management in
 this appeal.

 Thank you for Your Honor's attention to this matter.


0(_;:;;t,'."·Wt:u..L-
                Case 1:25-cv-00613-MLB                            Document 15-2         Filed 03/19/25   Page 45 of 47

/s/ Ulysses T. Ware

Ulysses T. Ware
Attorney in Fact for Appellants-Movants
Ulysses T. Ware and Group Management, a sole proprietorship

Enclosures:

           1.     Appellants' Response to the District Court, Brown, J., 0kt. 4, February 13, 2025, Order

           2.     Appellant Group Management's Entry of Appearance of Counsel in 25cv00613 (NOGA)



                                                                   Certificate of Service

I, Ulysses T. Ware, attorney in fact for the Appellants , hereby certify under penalty of perjury that on this 25th day of
February, 2025, I caused to be served a true and correct copy of the foregoing COVER LETTER AND ENCLOSED
FILINGS via electronic filing with the United States District Court for the Northern District of Georgia in Case No.
25cv00613 (MLB) and by U.S. Mail to the Office of the District Clerk, United States District Court, Northern District of
Georgia, 1988 Richard B. Russell U.S . Courthouse, 75 Ted Turner Drive, SW, Atlanta , GA 30303.

/s/ Ulysses T. Ware

Ulysses T. Ware




  --ol-T.W..
  , :z:, _ __ ,,..IM,

  ~NYf1UC
   l(.i,i ,. Ol...t(.l (
  ~: 11,/.,.,, -~ .l Y• " '·""" e-,"'-4 ll'i ..4,t
       :tScvoo,r!l(•O~)

  'Ri:~ Atrll.~, ....,f"#f;f/"' bd -+




                                          ~Clf-OilMCt~
                                          ~~DittrietCOUJ't
                                          Horttt.m~of~
                                          1 1 N ~ a . ~ U~S- ~
                                         75T..tT.,,.,.,OtNit,SW
                                         ....,_4CA$030J




3 attachments
~     (16-5--NOP) 02.25.25 (Part 16-5--NOP) re Appellant Group Management Counsel's entry of appearance.pdf
      141K
~     (16-5--CL) 02.25.25 (Part 16-5--CL) re Clerk's cover letter.pdf
      138K
          Case 1:25-cv-00613-MLB             Document 15-2          Filed 03/19/25        Page 46 of 47

'"' (16-5) 02.25.25 (Part 16-5) re Appellants' response to the Court's 0kt. 4 Order.pdf
IO 1224K
                                       Case 1:25-cv-00613-MLB       Document 15-2                      Filed 03/19/25   Page 47 of 47
                                                        .
Th~ Office of Ulysses T. Ware
123 Linden Blvd., Ste 9-L          ,
Brooklyn, NY 11226          ..                                  1111                               11111
RJd tJ """ MC!~lli s, zb 2S                                  ' 9589 0710 5270 0693 4844 81
                                                    l

   W-•, -c.-l- ""\. ". ~-ttlr Ca.p>f..l ,A,, t>J..,.
     ~5 c.v 00-1~ ( NO CtA)
                                                                                                                    U.S . POSTAGE PAID
                                                                           Retail
  - ~e{:\~ "-' Gt fd,. 2 5, lo2.S                                                                                   FCM LG ENV
                                                                                                                    BROOKLYN , NY 11226
     .AfCSf°"'-e. +o t)(-\-. 4, 0,rJW                                                                               MAR 08, 2025
                                                                                                       1111111
                                                                                                           30303    $8.28
                                                                             RDC99                                  S2324K504956-26




                                                            U.S. fVtAK~HAL~ ~tRVICE
                                                                  Atlanta, Georgia

                                                                        I"" ..... ,...,.,   ,,......,._.




                                                            Office of the District Clerk
                                                            Uriit~~~te; Qi~fi~
                                                            Nolit,ti'l~ntij,i~§ eorgia
                                                            1988 Richard B. Russell U.S. Courthouse
                                                            75 Ted Turner Drive, SW
                                                            Atlanta, GA 30303




    APtGlk.,~, '. U\ Y))CS 7 .. W         OJ{e,

                      G, ~O\A.   MA"'•~~ll\_e.-,+
